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                    5 Attorneys for Defendants
                      Officer Lucas Turley, Sgt. David Mason and the
                    6 Las Vegas Metropolitan Police Department

                    7                                   UNITED STATES DISTRICT COURT

                    8                                        DISTRICT OF NEVADA

                    9                                                    ***

                   10 BRIAN CHURCH,                                         CASE NO. 2:19-cv-1198-RFB-DJA

                   11                      Plaintiff,                       STIPULATION AND ORDER TO
                                                                            EXTEND THE DEADLINE TO FILE
                   12             vs.                                       DEFENDANT’S REPLY IN SUPPORT OF
                                                                            MOTION FOR SUMMARY JUDGMENT
                   13 OFFICER LUCAS TURLEY, in his individual
                      and official capacity; SGT. DAVID MASON,              FIRST REQUEST
                   14 in his official capacity; LAS VEGAS
                      METROPOLITAN POLICE DEPARTMENT;
                   15 DOE OFFICERS I through X, inclusive; and
                      ROE XI through XX, inclusive,
                   16
                                       Defendants.
                   17

                   18            Pursuant to LR 6-1 and LR 26-4, the parties, by and through their respective counsel of
                   19 record, hereby stipulate and request that this Court extend the deadline to file Defendants’ Reply

                   20 in Support of Motion for Summary Judgment in the above-captioned case forty-three (43) days, up

                   21 to and including Friday, November 12, 2021.

                   22            This Request for an extension of time is not sought for any improper purpose or other
                   23 purpose of delay. This request for extension is based upon the following:

                   24            Attorney for Defendant is currently preparing motions that are due in Latham v.
                   25 Henderson, case number A-19-790017-C; Juma v. Clark County, case number 2:20-cv-00120-

                   26 JCM-EJY; and Perez, et al v. Ramos, et al, case number 2:15-cv-1572-APG-DJA.

                   27            Further counsel will be out of the state from October 7, 2021 to October 18, 2021.
                   28            WHEREFORE, the parties respectfully request that this Court extend the time for the
LEWIS
BRISBOIS
BISGAARD
& SMITH LLP             4827-4833-4333.1
ATTORNEYS AT LAW
                         Case 2:19-cv-01198-RFB-DJA Document 39 Filed 09/27/21 Page 2 of 2




                    1 parties to file their dispositive motions by forty-three (43) days from the current deadline of

                    2 September 30, 2021 up to and including November 12, 2021.

                    3    Dated this 27th day of September, 2021.       Dated this 27th day of September, 2021.

                    4    LEWIS BRISBOIS BISGAARD & SMITH LLP           E. BRENT BRYSON, P.C.

                    5    /s/ Robert W. Freeman                         /s/ E Brent Bryson
                         Robert W. Freeman, Esq.                       E. Brent Bryson, Esq.
                    6    Nevada Bar No. 3062                           Nevada Bar No. 4933
                         6385 S. Rainbow Blvd., Suite 600              3202 West Charleston Blvd.
                    7    Las Vegas, Nevada 89118                       Las Vegas, Nevada 89102
                         Attorney for Defendants                       Attorneys for Plaintiffs
                    8

                    9                                              ORDER

                   10            IT IS SO ORDERED.
                   11            Dated this27th
                                            __ day of ______________,
                                                       September      2021.
                   12

                   13                                              ______________________________________
                                                                      UNITED STATES MAGISTRATE JUDGE
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LEWIS
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